UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK


 United States of America,

                –v–
                                                                      20-cr-330 (AJN)
 Ghislaine Maxwell,
                                                                          OPINION
                        Defendant.




ALISON J. NATHAN, District Judge:

       Pursuant to the Court’s order of June 25, 2021 (Dkt. No. 303), any proposed redactions to

the Court’s opinion on Maxwell’s motions to suppress evidence must be filed no later than today,

June 30, 2021. Any proposed redactions to the other documents ordered unsealed in that order

must be filed no later than July 2, 2021. The parties shall file a joint letter by each of these dates

informing the Court if no redactions are sought.



       SO ORDERED.



Dated: June 30, 2021
       New York, New York
                                                    ____________________________________
                                                              ALISON J. NATHAN
                                                            United States District Judge
